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    12                      UNITED STATES DISTRICT COURT
    13                    CENTRAL DISTRICT OF CALIFORNIA
    14                               WESTERN DIVISION
    15
    16 JANE DOE NOS. 1-10,                       Case No: 2:20-CV-10713-DDP-RAO

    17              Plaintiffs,                  SECOND AMENDED COMPLAINT
    18        v.
    19 DANIEL S. FITZGERALD,
    20              Defendant.
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    28                                               1
    29        Jane Doe Nos. 1-10 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713-DDP-RAO
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     1                                   INTRODUCTION
     2        1.     On December 15, 2020, the Department of Justice (“DOJ”) indicted
     3 Peter Nygard for spearheading a decades-long racketeering enterprise and sex
     4 trafficking venture, which was enabled by myriad accomplices and co-conspirators,
     5 including Defendant Daniel Fitzgerald (“Defendant” or “Fitzgerald”) (“Nygard-
     6 Fitzgerald Sex Trafficking Racketeering Enterprise”). See United States v. Nygard,
     7 No. 20 CR 624 (S.D.N.Y.) (“DOJ Indictment”) (annexed as Exhibit 1).
     8        2.     The purpose of the Nygard-Fitzgerald Sex Trafficking Racketeering
     9 Enterprise is to “recruit, entice, transport, harbor, and maintain adult and minor-aged
    10 female victims for Nygard’s sexual gratification,” including through the use of
    11 “force, fraud, and coercion to cause women to engage in commercial sex with
    12 Nygard and others.” See Ex. 1 at ¶ 3 (emphasis added).
    13        3.     Nygard and his associates “used fraud, force and coercion to cause at
    14 least dozens of adult and minor-aged female victims to engage in commercial sex by
    15 recruiting, enticing, transporting, harboring, and maintaining adult and minor-aged
    16 female victims for Nygard’s sexual gratification and, on occasion, the gratification
    17 of Nygard’s personal friends and business associates.” Ex. 1, ¶ 11 (emphasis
    18 added).
    19        4.     Defendant Fitzgerald is one of Nygard’s oldest and closest personal
    20 friends; and Fitzgerald is a key member of the Nygard Sex Trafficking Racketeering
    21 Enterprise.
    22        5.     As stated in the DOJ Indictment, as a part of the Nygard-Fitzgerald Sex
    23 Trafficking Racketeering Enterprise, Nygard would engage in “sexual ‘swaps’
    24 with male friends and business associates, who would bring Nygard a ‘date’ for sex
    25 in exchange for access to one of Nygard’s s ‘girlfriends’ for sex. ‘Girlfriends’ were
    26 not consulted in advance that they would be traded for sex and Nygard often
    27 pressured them to comply with such swaps at his direction through manipulation,
    28 intimidation, degradation, and threats.” Ex. 1, ¶18(b) (emphasis added).
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     1        6.       Fitzgerald also had his own sex trafficking venture, modeled after the
     2 Nygard venture, in which Fitzgerald was the kingpin. Fitzgerald had experience
     3 with sex trafficking, learning from and modeling his activities after Nygard
     4 (“Fitzgerald Sex Trafficking Racketeering Enterprise”).
     5        7.       Some plaintiffs in this case were victims of the Nygard-Fitzgerald Sex
     6 Trafficking Racketeering Enterprise; they were “swapped” from Nygard to
     7 Fitzgerald and forced to engage in sex acts with Fitzgerald. As a member of the
     8 Nygard-Fitzgerald Sex Trafficking Racketeering Enterprise, Fitzgerald knowingly
     9 participated in, and benefited from, the venture by engaging in commercial sex acts
    10 with young women who he knew were being sex trafficked by Nygard and the web
    11 of companies he owns and controls (“Nygard Companies”).
    12        8.       Other plaintiffs in this case were victims of Fitzgerald’s own sex
    13 trafficking venture.
    14        9.       This is a civil action for damages under the Trafficking Victims
    15 Protection Reauthorization Act, 18 U.S.C. § 1595 (“TVPRA”), and state law,
    16 brought by Plaintiffs Jane Doe Nos. 1-10, arising from Defendant Fitzgerald’s
    17 participation in the Nygard-Fitzgerald Sex Trafficking Racketeering Enterprise, as
    18 well as the Fitzgerald Sex Trafficking Racketeering Enterprise and his subsequent
    19 harassment and defamation of multiple Plaintiffs.
    20                                          PARTIES
    21 A.     Plaintiff Jane Doe Nos. 1-10
    22        9.       Jane Doe No. 1 is a United States citizen that resides in the United
    23 States.
    24        10.      Jane Doe No. 2 is a United States resident that resides in the United
    25 States.
    26        11.      Jane Doe No. 3 is a United States citizen that resides in the United
    27 States.
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     1        12.      Jane Doe No. 4 is a United States citizen that resides in the United
     2 States.
     3        13.      Jane Doe No. 5 is a United States resident that resides in the United
     4 States.
     5        14.      Jane Doe No. 6 is a United States resident that resides in the United
     6 States.
     7        15.      Jane Doe No. 7 is a United States resident that resides in the United
     8 States.
     9        16.      Jane Doe No. 8 is a United States resident that resides in the United
    10 States.
    11        17.      Jane Doe No. 9 is a United States citizen that resides in the United
    12 States.
    13        18.      Jane Doe No. 10 is a United States citizen that resides in the United
    14 States.
    15        19.      Plaintiffs are using pseudonyms because of the highly personal nature
    16 of their victimization and because of the serious risk of harm to which they would
    17 be exposed if they brought this suit in their actual names.
    18        20.      Plaintiffs are at serious risk of retaliatory harm from filing this lawsuit
    19 because Fitzgerald has committed acts of violence against one or more of the
    20 Plaintiffs when they have acted against his wishes.
    21        21.      Further, Fitzgerald participated in creating a video, posted on YouTube,
    22 that identifies various Jane Does that Fitzgerald suspects are suing him, uses private
    23 videos and images, and wrongfully accuses them of being felons.
    24        22.      Fitzgerald is also stalking the mother of one of the alleged Jane Does
    25 and slandering the Jane Doe to Jane Doe’s mother.
    26        23.      Fitzgerald’s intimidation tactics also involve violence. For example,
    27 Fitzgerald’s violent temper surfaced when Jane Doe No. 4 attempted to leave a
    28 Fitzgerald property, and Fitzgerald attacked her and attempted to suffocate her.
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     1         24.    Fitzgerald’s propensity for violence further showed when he dislocated
     2 Jane Doe No. 5’s shoulder, tore her labrum, and caused severe physical injury to her
     3 back and breasts while attacking her.
     4         25.    Further, Defendant has already articulated – and in fact manifested –
     5 his intent to publicly humiliate and shame Plaintiffs by claiming that Plaintiffs are
     6 simply seeking a “payday,” attempting to besmirch the truth of their trauma and
     7 further marginalize and denigrate them for shining the light of truth on Defendant’s
     8 conduct. Fitzgerald has distributed and continues to distribute the video that
     9 identifies Plaintiffs, and he further participates in malicious, false, and defamatory
    10 social media posts in order to intimidate and humiliate various Jane Does and other
    11 witnesses.
    12         26.    Defendant Fitzgerald continues to actively contact other victims of his
    13 and Nygard’s sex trafficking ventures to influence, intimidate, coerce, and defraud
    14 them into remaining silent and to keep them from coming forward with their truth.
    15         27.    Additionally, Defendant and his co-conspirators, such as Nygard and
    16 the Nygard Companies, have tremendous wealth and power and have used it to
    17 retaliate against others who have attempted to come forward.
    18         28.    Plaintiffs are also vulnerable because of Defendant’s co-conspirators’
    19 corruption of law enforcement through bribery and political influence.1
    20         29.    Because Fitzgerald’s victimization of Plaintiffs is part of sex trafficking
    21 conspiracy and, therefore, was inextricably intertwined with, and directly involved
    22 with Peter Nygard, Plaintiffs reasonably fear retaliation from both Defendant
    23 Fitzgerald and from Nygard and their myriad co-conspirators, who actively tamper
    24 with witnesses and engage in intimidation tactics and threats.
    25
         1
    26   See, e.g., https://www.youtube.com/watch?v=Pw1xUXQNelg;
       http://www.tribune242.com/news/2018/feb/14/nygard-outright-bribery-plp/;
    27 http://www.tribune242.com/news/2014/jun/25/nygard-gave-money-plp-then-asked-help-over-
    28 land-is/;http://www.tribune242.com/news/2017/may/05/fresh-questions-over-las-vegas-trip-pm-
       gibson-and-/.
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     1            30.    Plaintiffs’ safety, right to privacy, and personal security outweigh the
     2 public interest in their identification.
     3            31.    Plaintiffs’ legitimate concerns for privacy outweigh any prejudice to
     4 Defendant by allowing Jane Does Nos. 1-10 to proceed anonymously.
     5 B.         Defendant
     6            32.    Defendant Daniel S. Fitzgerald is a California citizen who resides in
     7 California and owns properties in California, as well as a real estate development
     8 company that conducts substantial business in California.2
     9            33.    Fitzgerald conspired with and engaged in an enterprise with numerous
    10 third parties located both in and outside the State of California, including, but not
    11 limited to, Nygard, the Nygard Companies, myriad Nygard Companies’ employees,
    12 and other unidentified co-conspirators and enterprise associates.
    13                                JURISDICTION AND VENUE
    14            34.    This Court has federal question subject-matter jurisdiction pursuant to
    15 28 U.S.C. § 1331, because Plaintiffs bring this action under the federal TVPRA
    16 statute, 18 U.S.C. § 1595.
    17            35.    Plaintiffs Jane Doe Nos. 1-10’s claims arise out of the same series of
    18 transactions or occurrences and share common questions of law or fact. The
    19 essential facts underlying Jane Doe Nos. 1-10’s claims are so logically connected
    20 that considerations of judicial economy and fairness dictate that all the issues be
    21 resolved in a single lawsuit. There is also substantial overlap in questions of law or
    22 fact across Jane Doe Nos. 1-10’s claims.
    23            36.    This Court also has supplemental jurisdiction over Plaintiffs’ State law
    24 claims pursuant to 28 U.S.C. § 1367(a), because all claims alleged herein are part of
    25 the same nucleus of operative facts.
    26            37.    This Court has personal jurisdiction over Defendant because he is a
    27 resident of this State. Further, the events giving rise to the causes of action asserted
    28   2
             https://www.dannyfitzgerald.com/aboutcontec.
                                                          6
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     1 herein substantially occurred in California, insofar as Fitzgerald knowingly
     2 conspired, aided and abetted, facilitated, and directly participated in the Nygard-
     3 Fitzgerald Sex Trafficking Racketeering Enterprise through actions that occurred in
     4 this State. Fitzgerald also knowingly conspired, aided and abetted, facilitated and
     5 directly participated in his own sex trafficking venture including actions that
     6 occurred in the state of California.
     7         38.      Venue is proper in this District, under 28 U.S.C. § 1391(b)(2), because
     8 Defendant Fitzgerald knowingly engaged in sex trafficking in this District and,
     9 therefore, a substantial part of the events giving rise to Plaintiffs’ claims occurred in
    10 this District.
    11                                 LEGAL BACKGROUND
    12 I. THE TVPRA
    13         39.      The federal sex trafficking statute, 18 U.S.C. § 1591, outlaws sex
    14 trafficking activities that affect interstate or foreign commerce or take place within
    15 the territorial jurisdiction of the United States. It is to be construed expansively
    16 because it serves a remedial purpose and uses intentionally broad language.
    17         40.      The federal sex trafficking statute, 18 U.S.C. § 1591, makes it a federal
    18 felony if any person acting in interstate or foreign commerce, or within the territorial
    19 or maritime jurisdiction of the United States, knowingly:
    20              (1) … recruits, entices, harbors, transports, provides, obtains,
                advertises, maintains, patronizes, or solicits by any means a person;
    21          or
    22               (2) benefits, financially or by receiving anything of value, from
                participation in a venture which has engaged in an act described in
    23          violation of paragraph (1),
    24          knowing, or … in reckless disregard of the fact, that means of force,
                threats of force, fraud, coercion …, or any combination of such
    25          means will be used to cause the person to engage in a commercial
                sex act, or that the person has not attained the age of 18 years and
    26          will be caused to engage in a commercial sex act ….

    27         41.      The TVPRA, 18 U.S.C. § 1595, provides a civil remedy to victims of
    28 sex trafficking crimes, including violations of 18 U.S.C. § 1591, against the
                                                      7
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     1 perpetrator of such crimes and against anyone else who knowingly benefits,
     2 financially or by receiving anything of value, from participation in a venture which
     3 that person knew or should have known has engaged in a sex trafficking crime. 18
     4 U.S.C. §1595(a).
     5                             FACTUAL ALLEGATIONS
     6 I.     Fitzgerald Engaged in Commercial Sex Acts with Jane Doe Nos. 1-10,
     7        Knowing They Were Being Trafficked by Fitzgerald and/or Nygard.
     8        42.    Fitzgerald knowingly participated in the Nygard-Fitzgerald Sex
     9 Trafficking Racketeering Enterprise by engaging in commercial sex acts with Jane
    10 Doe Nos. 1-10, who are sex trafficking victims of both Nygard and Fitzgerald.
    11        43.    Fitzgerald regularly participated in Nygard’s sex trafficking venture
    12 and enterprise, and also conspired with Nygard, to build his own sex trafficking
    13 network and scheme.
    14        44.    Fitzgerald is a long-time friend and associate of Nygard’s who
    15 frequently attended “pamper parties”3 and dinners (events used by Nygard to lure
    16 and traffic his victims) at Nygard’s Marina Del Rey property and other locations
    17 around the world.
    18        45.    “To recruit victims, Peter Nygard, the defendant, and others known and
    19 unknown, used a network of trusted associates, ‘girlfriends,’ and Nygard Group
    20 employees. Many of the victims were initially invited to dinners or parties at
    21 Nygard’s residences, particularly in the Bahamas and in Marina del Rey,
    22 California.… Many victims were initially induced, coerced, and forced to have sex
    23 with Nygard through one or more of the following: false promises of modeling or
    24 fashion industry jobs; the supply of alcohol and/or drugs, including the drugging of
    25 drinks without the victim’s knowledge; and physical force.” Ex. 1, ¶ 13 (emphasis
    26
    27   3
        https://www.instagram.com/p/BehBmpwDZW-/;
    28 https://www.instagram.com/p/BjmAvU2A86k/; https://www.instagram.com/p/BrMcKpBn28C/;
       https://www.instagram.com/p/B3TwcWWAP2K/; https://www.instagram.com/p/B4I2E_OgQai/
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     1 added). The referenced “network of trusted associates” includes Fitzgerald, with
     2 whom Nygard frequently “swapped” or attempted to “swap” sex trafficking victims,
     3 including several of the Jane Does herein.
     4        46.      Fitzgerald was one of Nygard’s closest friends and, according to
     5 Nygard, he and Fitzgerald “shared literally everything.”
     6        47.      Fitzgerald was Nygard’s companion at the pamper parties and dinners
     7 where Nygard exercised complete control over young women whose passports had
     8 been confiscated and had no money or lodging.
     9        48.      At those parties and dinners, Nygard would instruct his young
    10 girlfriends to engage in sex acts with Fitzgerald.
    11        49.      Fitzgerald knew that without Nygard’s instruction, the “girlfriends”
    12 were controlled and forbidden from doing any such thing.
    13        50.      Fitzgerald knew that Nygard’s “girlfriends” were being forced to
    14 engage in sex acts with Fitzgerald because he acknowledged Nygard’s instruction
    15 for them to do so by saying to Nygard after the sex acts, for example, “Thanks,
    16 Peter!”
    17        51.      While participating in, and learning from, Nygard’s sex trafficking
    18 venture, Fitzgerald started employing Nygard’s tactics to develop his own sex
    19 trafficking venture; to wit, Fitzgerald would promise young women lodging and
    20 career opportunities if they lived with him or stood by his side. But what the women
    21 weren’t told is that they would be coerced into sex acts with Fitzgerald and others
    22 close to him.
    23        52.      Based on his decades of friendship with Nygard and his attendance at
    24 events with Nygard, Fitzgerald knows of the Nygard Sex Trafficking Racketeering
    25 Enterprise and was one of Nygard’s most trusted associates.
    26        53.      When Nygard was in Marina del Rey, as noted above and described
    27 more fully below, Fitzgerald would routinely be at Nygard’s house, engaging in
    28
                                                      9
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      1 numerous predicate acts in furtherance of the Nygard Sex Trafficking Racketeering
      2 Enterprise.
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     28 (Nygard is on the left; Fitzgerald’s hand is entering from the right)
                                                      10
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     11            54.   Fitzgerald openly promotes the Nygard image in order to recruit, lure,
     12 and entice young women to attend the “pamper parties” and events at Nygard’s
     13 properties.
     14            55.   Fitzgerald is even listed on Nygard Companies’ employee contact lists
     15 as an employee at the Marina del Rey compound.
     16            56.   Fitzgerald has traveled on the Nygard Companies’ corporate jet (“N-
     17 Force”) to locations in South America, the Caribbean, and New York for the purpose
     18 of furthering and participating in the sex trafficking venture and enterprise.
     19            57.   Fitzgerald also knowingly recruits, lures, and entices young women to
     20 engage in commercial sex acts with himself and Nygard, flying them from, among
     21 other places, locations in Las Vegas, Nevada and San Jose, California.4
     22            58.   Nygard frequently traveled to California and stayed at his Marina del
     23 Rey property. On most such occasions, Fitzgerald would come to the Marina del Rey
     24 house for dinner, poker, and forced commercial sex acts with one of Nygard’s
     25 “girlfriends” or other women.
     26            59.   As corroborated by the DOJ Indictment, personal friends and associates
     27 of Nygard would “swap” women with Nygard; Fitzgerald was the most notable of
     28   4
              See https://www.instagram.com/p/B4I2E_OgQai/
                                                         11
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      1 those friends who, in exchange for sex acts, would bring a female with him to “offer”
      2 to Nygard.
      3            60.    In exchange for Fitzgerald’s knowing recruitment for, participation in,
      4 and conspiracy in Nygard’s continuing sex trafficking venture and enterprise,
      5 Nygard forced his “girlfriends” and/or sex workers to perform commercial sex acts
      6 with Fitzgerald.
      7            61.    Fitzgerald also uses his association with Nygard and the Nygard
      8 enterprise, and his attendance at “pamper parties,” to benefit and promote himself
      9 and his business on social media, and to further the goals of the Nygard enterprise.5
     10            62.    Fitzgerald portrays himself as a playboy, entrepreneur, and partier who
     11 rents luxurious homes in Hollywood to celebrities and “influencers” for them to
     12 throw parties.6 In doing so, he also promotes the purpose of the Nygard enterprise,
     13 which is to lure and recruit additional sex trafficking victims to engage in
     14 commercial sex acts with himself, Nygard, and other associates.
     15            63.    Fitzgerald also viewed himself in the same manner that Nygard did and
     16 attempted to gather a group of women around himself that he could have at his “beck
     17 and call” for sexual service. Fitzgerald copied the Nygard model, called the women
     18 his “girlfriends,” had the girlfriends live at his residence, provided these women
     19 something of value (housing, payment, etc.) in exchange for sexual acts, and brought
     20 them to Nygard’s house for a “swap” or an attempted “swap” of the women with
     21 Nygard.
     22 A.         Jane Doe No. 1
     23            64.    Jane Doe No. 1 was trafficked when Fitzgerald engaged as an active
     24 participant in Nygard’s sex trafficking venture and participated in a “sex swap” with
     25 Jane Doe No. 1 and another female.
     26
          5
              See https://www.instagram.com/p/BehBmpwDZW-/;
     27 https://www.instagram.com/p/BjmAvU2A86k/; https://www.instagram.com/p/BrMcKpBn28C/;
     28 https://www.instagram.com/p/B3TwcWWAP2K/;
        6
                                                   https://www.instagram.com/p/B4I2E_OgQai/
              See https://www.dannyfitzgerald.com/; https://www.dannyfitzgerald.com/media
                                                          12
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      1        65.    Jane Doe No. 1 was an employee of the Nygard Companies, and sex
      2 trafficking victim of Nygard and the Nygard Companies.
      3        66.    Nygard exploited his financial, physical, and psychological control
      4 over Jane Doe No. 1, which Fitzgerald knew about, to force her to engage in sex acts
      5 with Fitzgerald as part of a “swap.”
      6        67.    As such, Fitzgerald participated in and benefited from the Nygard-
      7 Fitzgerald Sex Trafficking Racketeering Enterprise.
      8        68.    At a party at Nygard’s Marina del Rey property, she met Fitzgerald and
      9 his female companion.
     10        69.    Nygard directed Jane Doe No. 1 to engage in sex acts with Fitzgerald
     11 against her will.
     12        70.    Fitzgerald then sexually assaulted Jane Doe No. 1, at Nygard’s
     13 direction.
     14        71.    Fitzgerald then escorted Jane Doe No. 1 to a bedroom and engaged in
     15 more sex acts, at Nygard’s direction and against her will.
     16        72.    At the same time Nygard had sexual intercourse with the other female
     17 provided to him in a “swap” by Fitzgerald.
     18        73.    Fitzgerald and Nygard each received sexual gratification in exchange
     19 for these sexual acts.
     20        74.    Jane Doe No. 1 received something of value in exchange for the sex
     21 acts. Namely, she was able to avoid being punished financially and otherwise,
     22 including keeping her employment and lodging, and avoided Nygard’s wrath by
     23 doing what was instructed.
     24        75.    Consequently, Jane Doe No. 1 has been physically, psychologically,
     25 financially, and/or reputationally harmed by Fitzgerald.
     26 B.     Jane Doe No. 2
     27        76.    Jane Doe No. 2 was trafficked when Fitzgerald engaged as an active
     28 participant in Nygard’s sex trafficking venture and participated in a “sex swap” with
                                                      13
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      1 Jane Doe No. 2 and another female.
      2        77.    Jane Doe No. 2 was an employee of the Nygard Companies, and sex
      3 trafficking victim of Nygard and the Nygard Companies.
      4        78.    Nygard exploited his financial, physical, and psychological control
      5 over Jane Doe No. 2, which Fitzgerald knew about, to force her to engage in sex acts
      6 with Fitzgerald.
      7        79.    As such, Fitzgerald participated in and benefited from the Nygard-
      8 Fitzgerald Sex Trafficking Racketeering Enterprise.
      9        80.    Jane Doe No. 2 was lured into a bedroom at Nygard’s Marina del Rey
     10 Property, where she met Fitzgerald and his female companion.
     11        81.    Nygard partially undressed Jane Doe No. 2 and directed Jane Doe No.
     12 2 to engage in sex acts with Fitzgerald against her will.
     13        82.    Fitzgerald engaged in sex acts with Jane Doe No. 2 at Nygard’s
     14 direction and against her will while Nygard engaged in sexual acts with the other
     15 female provided to him by Fitzgerald.
     16        83.    Fitzgerald and Nygard each received sexual gratification in exchange
     17 for these sexual acts.
     18        84.    Jane Doe No. 2 received something of value in exchange for the sex
     19 acts. Namely, she was compensated financially, maintained employment, and
     20 avoided Nygard’s wrath by complying with his demands.
     21        85.    Consequently, Jane Doe No. 2 has been physically, psychologically,
     22 financially, and/or reputationally harmed by Fitzgerald.
     23 C.     Jane Doe No. 3
     24        86.    Jane Doe No. 3 was trafficked when Fitzgerald engaged as an active
     25 participant in Nygard’s sex trafficking venture and participated in a “sex swap” with
     26 Jane Doe No. 3 and another female.
     27        87.    Jane Doe No. 3 was an employee of the Nygard Companies, and sex
     28 trafficking victim of Nygard and the Nygard Companies.
                                                      14
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      1         88.   Nygard exploited his financial, physical, and psychological control
      2 over Jane Doe No. 3, which Fitzgerald knew about, to force her to engage in sex acts
      3 with Fitzgerald.
      4         89.   As such, Fitzgerald participated in and benefited from the Nygard-
      5 Fitzgerald Sex Trafficking Racketeering Enterprise.
      6         90.   At a dinner party at Nygard’s Marina del Rey Property, she met
      7 Fitzgerald and his female companion.
      8         91.   Nygard directed Jane Doe No. 3 to engage in sex acts with Fitzgerald
      9 against her will.
     10         92.   Fitzgerald engaged in sex acts with Jane Doe No. 3 at Nygard’s
     11 direction and against her will while Nygard engaged in sexual acts with the other
     12 female provided to him by Fitzgerald.
     13         93.   This occurred on more than one occasion.
     14         94.   Fitzgerald and Nygard each received sexual gratification in exchange
     15 for these sexual acts.
     16         95.   Jane Doe No. 3 received something of value in exchange for the sex
     17 acts. Namely, she was compensated financially, maintained employment, and
     18 avoided Nygard’s wrath by complying with his demands.
     19         96.   Consequently, Jane Doe No. 3 has been physically, psychologically,
     20 financially, and/or reputationally harmed by Fitzgerald.
     21 D.      Jane Doe No. 4
     22         97.   Jane Doe No. 4 was trafficked when Fitzgerald engaged as an active
     23 participant in Nygard’s sex trafficking venture and participated in a “sex swap” with
     24 Jane Doe No. 4 and another female. She also was forced and coerced to engage in
     25 commercial sexual acts with Fitzgerald while living under his roof.
     26         98.   Jane Doe No. 4 met Nygard, and he invited her to live at his Marina del
     27 Rey property.
     28 / / /
                                                      15
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      1         99.   While living at Nygard’s property, Jane Doe No. 4 was repeatedly
      2 required to indulge Nygard’s sexual appetites against her will.
      3         100. On multiple occasions while Jane Doe No. 4 was living there,
      4 Fitzgerald came to Nygard’s house with a female companion.
      5         101. Nygard exploited his financial, physical, and psychological control
      6 over Jane Doe No. 4, which Fitzgerald knew about, to force her to engage in sex acts
      7 with Fitzgerald.
      8         102. As such, Fitzgerald participated in and benefited from the Nygard-
      9 Fitzgerald Sex Trafficking Racketeering Enterprise.
     10         103. Fitzgerald engaged in sex acts with Jane Doe No. 4 at Nygard’s
     11 direction and against her will while Nygard engaged in sexual acts with the other
     12 female provided to him by Fitzgerald.
     13         104. This occurred on more than one occasion.
     14         105. Fitzgerald and Nygard each received sexual gratification in exchange
     15 for these sexual acts.
     16         106. Jane Doe No. 4 received something of value in exchange for the sex
     17 acts. Namely, she was compensated financially, maintained employment, and
     18 avoided Nygard’s wrath by complying with his demands.
     19         107. After a few months, Nygard notified Jane Doe No. 4 that she would no
     20 longer be allowed to stay at his house; Nygard suggested she contact Fitzgerald for
     21 a place to live.
     22         108. Having no options and no money, Jane Doe No. 4 moved into
     23 Fitzgerald’s house. No expectations were communicated at this time.
     24         109. Shortly thereafter, Fitzgerald informed Jane Doe No. 4 that she was
     25 expected to engage in “threesomes” with Fitzgerald and his girlfriend.
     26         110. Jane Doe No. 4 repeatedly attempted to avoid sexual contact with
     27 Fitzgerald.
     28 / / /
                                                      16
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      1           111. On one or more occasions, Jane Doe No. 4 was sleeping and woke up
      2 to find Fitzgerald on top of her, raping her. Jane Doe No. 4 did not consent to this
      3 sexual act and on each occasion had her door locked prior to falling asleep.
      4           112. Fitzgerald received sexual gratification in exchange for these sexual
      5 acts with Jane Doe No. 4.
      6           113. Jane Doe No. 4 received a place to stay in exchange for the sex acts
      7 with Fitzgerald.
      8           114. After enduring this treatment several times, Jane Doe No. 4 decided to
      9 leave and told Fitzgerald of her intent to do so.
     10           115. In response, Fitzgerald became enraged, calling Jane Doe No. 4 profane
     11 and racist epithets before violently holding her down and attempting to suffocate her
     12 with his other hand. Jane Doe No. 4 was not able to breathe or get up during
     13 Fitzgerald’s attack.
     14           116. Jane Doe No. 4 was in fear of Fitzgerald and what would happen if she
     15 left the property.
     16           117. When Jane Doe No. 4 finally did escape, she did so in the dead of night,
     17 so as to avoid detection by, and physical harm from, Fitzgerald.
     18           118. On July 9, 2021, Fitzgerald, or someone acting at the direction of and/or
     19 in coordination with Fitzgerald, posted a video to YouTube for public viewing,
     20 which identifies Jane Doe No. 4 by name and photograph and falsely accuses her of
     21 lying, sexual misconduct, and committing serious criminal activity, among other
     22 falsehoods.7 As of August 10, this video has been viewed over 1,560 times and has
     23 over twenty comments.
     24           119. Consequently, Jane Doe No. 4 has been physically, psychologically,
     25 financially, and/or reputationally harmed by Fitzgerald.
     26 / / /
     27
          7
     28    Plaintiffs omit the URL of this YouTube video from this Complaint so as to not perpetuate the defamatory statements
          and exacerbate the harm it has caused them.
                                                         17
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      1 E.      Jane Doe No. 5
      2         120. Jane Doe No. 5 was trafficked when Fitzgerald groomed, recruited, and
      3 lured her to travel from the United States to Mexico wherein she also was forced and
      4 coerced to engage in commercial sexual acts with Fitzgerald.
      5         121. Jane Doe No. 5 ran into Fitzgerald on a trip where Fitzgerald
      6 encouraged her to stay at his residence under the ruse of offering her a job working
      7 an event that offered a financial payment, networking opportunities with important
      8 people, free “swag,” and recreational opportunities. Fitzgerald did not request or
      9 require rent be paid.
     10         122. The place where Fitzgerald was staying was remotely located so that it
     11 was too far for Jane Doe No. 5 to try to leave.
     12         123. Once Jane Doe No. 5 was in the home, Fitzgerald began to groom her.
     13 He engaged in open sexual acts in front of her with other women and made multiple
     14 lewd comments and sexual propositions to her.
     15         124. After being turned down numerous times, Fitzgerald demanded that
     16 Jane Doe No. 5 pay for gas and lift tickets for everyone because “all [his] girls pay
     17 in some way or another.” Jane Doe No. 5 understood this to mean that she had to
     18 pay financially since she didn’t pay for her stay at the house with sexual acts.
     19         125. Fitzgerald brought Jane Doe No. 5 to the house of Fitzgerald’s friend,
     20 Peter Nygard.
     21         126. While playing poker, Fitzgerald told the men, including Peter Nygard,
     22 that “whoever wins can have [Jane Doe No. 5] for the night.”
     23         127. Fitzgerald invited Jane Doe No. 5 to Cabo San Lucas, Mexico with the
     24 intent to engage in commercial sex acts with her.
     25         128. Fitzgerald invited, recruited, and transported Jane Doe No. 5 from
     26 California to Cabo San Lucas for this purpose.
     27         129. Jane Doe No. 5 stayed in her own room at a resort.
     28 / / /
                                                      18
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      1         130. While at the resort, Fitzgerald made frequent comments about his
      2 sexual desires and showed Jane Doe No. 5 self-made pornography while they were
      3 in a public jacuzzi at the resort.
      4         131. When Jane Doe was in Fitzgerald’ suite, he went to the bathroom, took
      5 off all his clothes, and stated that he needed to shower.
      6         132. Fitzgerald then violently grabbed Jane Doe No. 5, and sexually
      7 assaulted her.
      8         133. Jane Doe No. 5 was afraid and was screaming, crying, and fighting back
      9 during Fitzgerald’s attack.
     10         134. During the attack, Fitzgerald used his substantial strength and
     11 dislocated Jane Doe No. 5’s shoulder, tore her labrum, and caused severe physical
     12 injury to her back and breast tissue.
     13         135. Fitzgerald received sexual gratification in exchange for these sexual
     14 acts with Jane Doe No. 5.
     15         136. On July 9, 2021, Fitzgerald, or someone acting at the direction of and/or
     16 in coordination with Fitzgerald, posted a video to YouTube for public viewing,
     17 which identifies Jane Doe No. 5 by name and photograph and falsely accuses her of
     18 lying, sexual misconduct, and committing serious criminal activity, among other
     19 falsehoods. As of August 10, this video has been viewed over 1,560 times and has
     20 over twenty comments.
     21         137. On or about July 31, 2021, Fitzgerald began physically and verbally
     22 harassing Jane Doe No. 5 in the town in which she lives. Subsequently, he created
     23 and printed paper flyers portraying Jane Doe No. 5’s photograph and name along
     24 with false and harmful statements about her, accusing her of criminal activity, and
     25 Fitzgerald has distributed or caused to be distributed these defamatory flyers around
     26 the community in which Jane Doe No. 5 currently resides.
     27         138. Consequently, Jane Doe No. 5 has been physically, psychologically,
     28 financially, and/or reputationally harmed by Fitzgerald.
                                                      19
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      1 F.      Jane Doe No. 6
      2         139. Jane Doe No. 6 was trafficked when Fitzgerald forced and/or coerced
      3 her to engage in commercial sexual acts while living under his roof.
      4         140. Jane Doe No. 6 met an advocate for Karma International, a self-
      5 proclaimed philanthropic organization.
      6         141. Jane Doe No. 6 was then invited to a party at Victorino Noval’s house
      7 in Beverly Hills. At that party, she was introduced to Peter Nygard, Fitzgerald, and
      8 Steven Powers.
      9         142. Later, Jane Doe No. 6 rented a room in a property owned by Fitzgerald.
     10         143. The first day Jane Doe No. 6 moved in at Fitzgerald’s property,
     11 Fitzgerald coerced her into having nude photos taken of her with another woman.
     12         144. On multiple occasions, Fitzgerald entered Jane Doe No. 6’s room
     13 without her knowledge and engaged in sex acts with her against her will.
     14         145. Fitzgerald demanded that Jane Doe No. 6 not disclose the sex acts to
     15 his other “girlfriends,” and cultivated an atmosphere of distrust and shame among
     16 all women living in the residence. This behavior ranged from sexual abuse to
     17 maintaining a domineering, patriarchal presence in the household (e.g., referring to
     18 the significantly younger women as his “kittens”).
     19         146. During her time at Fitzgerald’s residence, Jane Doe No. 6 became
     20 concerned that some of Fitzgerald’s “girlfriends” were undocumented women who
     21 relied upon Fitzgerald to secure their financial stability and to maintaining their
     22 residency in the United States.
     23         147. Jane Doe No. 6 witnessed Fitzgerald’s efforts to evade service of the
     24 Complaint in this case when he ordered all members of the household to refuse
     25 packages, mail, or food deliveries.
     26         148. Fitzgerald also demanded that if anyone came to the residence seeking
     27 to speak to him, that they falsely claim that they did not know him, or that he did not
     28 live there.
                                                      20
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      1        149. Jane Doe No. 6 felt intimidated and frightened into silence when
      2 Fitzgerald repeatedly asked her if she had spoken to the FBI.
      3        150. Jane Doe No. 6 felt further intimidated and frightened into silence when
      4 Fitzgerald and others, including one of Fitzgerald’s “girlfriends,” launched a
      5 coordinated attack against Jane Doe No. 6, falsely accusing her of theft and
      6 threatening her with arrest.
      7        151. Jane Doe No. 6 discovered legal documents that described Fitzgerald
      8 strangling and physically assaulting another woman. This frightened Jane Doe No.
      9 6 greatly.
     10        152. Shortly thereafter, Jane Doe No. 6 managed to escape.
     11        153. On July 9, 2021, Fitzgerald, or someone acting at the direction of and/or
     12 in coordination with Fitzgerald, posted a video to YouTube for public viewing,
     13 which identifies Jane Doe No. 6 by name and photograph and falsely accuses her of
     14 lying, sexual misconduct, and committing serious criminal activity, among other
     15 falsehoods. As of August 10, this video has been viewed over 1,560 times and has
     16 over twenty comments.
     17        154. Consequently, Jane Doe No. 6 has been physically, psychologically,
     18 financially, and/or reputationally harmed by Fitzgerald.
     19 G.     Jane Doe No. 7
     20        155. Jane Doe No. 7 was trafficked when Fitzgerald engaged as an active
     21 participant in Nygard’s sex trafficking venture and participated in a “sex swap” with
     22 Jane Doe No. 7 and another female.
     23        156. Jane Doe No. 7 was a sex trafficking victim of Nygard and the Nygard
     24 Companies.
     25        157. Nygard exploited his financial, physical, and psychological control
     26 over Jane Doe No. 7, which Fitzgerald knew about, to force her to engage in sex acts
     27 with Fitzgerald.
     28
                                                      21
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      1        158. As such, Fitzgerald participated in and benefited from the Nygard-
      2 Fitzgerald Sex Trafficking Racketeering Enterprise.
      3        159. At a dinner party at Nygard’s Marina del Rey Property, she met
      4 Fitzgerald and his female companion.
      5        160. Fitzgerald engaged in sex acts with Jane Doe No. 7 at Nygard’s
      6 direction and against her will while Nygard engaged in sexual acts with the other
      7 female provided to him by Fitzgerald.
      8        161. After the sex acts were complete, Fitzgerald came downstairs and said,
      9 “Thanks, Peter.” In context, this comment was about the coerced sexual “swap” of
     10 women between Fitzgerald and Nygard that had just occurred.
     11        162. Fitzgerald and Nygard each received sexual gratification in exchange
     12 for these sexual acts.
     13        163. Jane Doe No. 7 received something of value in exchange for the sex
     14 acts. Namely, she was compensated financially, maintained employment, and
     15 avoided Nygard’s wrath by complying with his demands.
     16        164. Consequently, Jane Doe No. 7 has been physically, psychologically,
     17 financially, and/or reputationally harmed by Fitzgerald.
     18 H.     Jane Doe No. 8
     19        168. Jane Doe No. 8 was trafficked when Fitzgerald engaged as an active
     20 participant in Nygard’s sex trafficking venture and participated in a “sex swap” with
     21 Jane Doe No. 8 and another female.
     22        169. Jane Doe No. 8 was a sex trafficking victim of Nygard and the Nygard
     23 Companies.
     24        170. On her first trip to California, she arrived at Nygard’s Marina del Rey
     25 property where her passport was confiscated.
     26        171. Jane Doe No. 8 was 17 years old.
     27        172. Nygard exploited his financial, physical, and psychological control
     28 over Jane Doe No. 8, which Fitzgerald knew about, to force her to engage in sex acts
                                                      22
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      1 with Fitzgerald.
      2        173. As such, Fitzgerald participated in and benefited from the Nygard-
      3 Fitzgerald Sex Trafficking Racketeering Enterprise.
      4        174. At a dinner party at Nygard’s Marina del Rey Property, she met
      5 Fitzgerald and his female companion.
      6        175. Nygard directed Jane Doe No. 8 to engage in sex acts with Fitzgerald
      7 against her will.
      8        176. Fitzgerald engaged in sex acts with Jane Doe No. 8 at Nygard’s
      9 direction and against her will.
     10        177. Fitzgerald did this on multiple occasions.
     11        178. Fitzgerald and Nygard each received sexual gratification in exchange
     12 for these sexual acts.
     13        179. Jane Doe No. 8 received something of value in exchange for the sex
     14 acts. Namely, she was compensated financially, maintained employment, and
     15 avoided Nygard’s wrath by complying with his demands.
     16        180. Consequently, Jane Doe No. 8 has been physically, psychologically,
     17 financially, and/or reputationally harmed by Fitzgerald.
     18 I.     Jane Doe No. 9
     19        181. Jane Doe No. 9 was trafficked when Fitzgerald engaged as an active
     20 participant in Nygard’s sex trafficking venture and participated in a “sex swap” with
     21 Jane Doe No. 9 and another female.
     22        182. Jane Doe No. 9 lived at Nygard’s Marina del Rey property.
     23        183. While living at Nygard’s property, Jane Doe No. 9 was repeatedly
     24 required to indulge Nygard’s sexual appetites against her will.
     25        184. On multiple occasions while Jane Doe No. 9 was living there,
     26 Fitzgerald came to Nygard’s house with a female companion.
     27        185. On one such occasion, Nygard gave his guests a tour of his home and
     28 brought Fitzgerald and Jane Doe No. 9 to his bedroom.
                                                      23
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      1        186. Nygard instructed Jane Doe No. 9 to lie on his bed as he knelt down
      2 next to her on the bed and stated, “this is my best friend, you need to have sex with
      3 him!” referring to Fitzgerald.
      4        187. At no point in time did Jane Doe No. 9 give her consent to Fitzgerald.
      5        188. Fitzgerald then vaginally raped Jane Doe No. 9 while Nygard became
      6 aroused and made loud and frantic noises.
      7        189. Nygard exploited his financial, physical, and psychological control
      8 over Jane Doe No. 9 to force her to engage in sex acts with Fitzgerald.
      9        190. As such, Fitzgerald participated in and benefited from the Nygard-
     10 Fitzgerald Sex Trafficking Racketeering Enterprise.
     11        191. Fitzgerald and Nygard each received sexual gratification in exchange
     12 for these sexual acts.
     13        192. Jane Doe No. 9 received something of value in exchange for the sex
     14 acts. Namely, she was compensated financially and avoided Nygard’s wrath by
     15 complying with his demands.
     16        193. Consequently, Jane Doe No. 9 has been physically, psychologically,
     17 financially, and/or reputationally harmed by Fitzgerald.
     18 J.     Jane Doe No. 10
     19        194. Jane Doe No. 10 was trafficked when Fitzgerald forced and/or coerced
     20 her to engage in commercial sexual acts while at his residence.
     21        195. Jane Doe No. 10’s roommate was invited to a barbeque at Fitzgerald’s
     22 property by one of Fitzgerald’s employees.
     23        196. Jane Doe No. 10 and her roommate attended Fitzgerald’s party.
     24        197. At the party, Fitzgerald then invited Jane Doe No. 10, her roommate,
     25 and several of the other guests to go to a “pamper party” at Peter Nygard’s residence.
     26        198. Fitzgerald provided the transportation to the “pamper party” for the
     27 attendees, to include Jane Doe No. 10.
     28        199. At the “pamper party,” Fitzgerald provided a drink to Jane Doe No. 10,
                                                      24
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      1 which, upon information and belief, was drugged.
      2         200. Jane Doe No. 10 returned to Fitzgerald’s house with the other attendees.
      3         201. Jane Doe No. 10, her roommate, another woman, and Fitzgerald went
      4 to the hot tub.
      5         202. After the hot tub, Fitzgerald raped Jane Doe No. 10 on his bed.
      6         203. Jane Doe No. 10 took an Uber home after the rape with her roommate.
      7         204. The next morning, Jane Doe No. 10 woke up with two $100 bills next
      8 to her, which upon information and belief, were given to her by Fitzgerald after the
      9 rape.
     10         205. Consequently, Jane Doe No. 10 has been physically, psychologically,
     11 financially, and/or reputationally harmed by Fitzgerald.
     12   II.   Plaintiffs Were Prevented from Previously Pursuing Their Claims.
     13         206. Defendant’s and Defendant’s co-conspirators’ violent and ongoing
     14 conduct created such extraordinary circumstances that Plaintiffs justifiably feared
     15 for their well-being and their lives, and they were prevented from meaningfully
     16 pursuing their claims any sooner than the date this lawsuit was filed.
     17         207. As is relevant here, where Fitzgerald engaged in sex trafficking through
     18 the “swap” of Nygard’s “girlfriends,” Nygard and his co-conspirators and enterprise
     19 associates used various methods, including payments, to silence and intimidate such
     20 victims: “In some instances, Nygard intended these payments to secure a victim’s
     21 silence. In other instances, Nygard intended these payments to facilitate future
     22 sexual activity with the victim induced through force, fraud, and coercion.” Ex. 1,
     23 ¶ 13 (emphasis added).
     24         208. Fitzgerald employs even more insidious intimidation tactics, including
     25 preparing YouTube videos and social media posts that accuse alleged Jane Does of
     26 being felons and posting private information to silence them.
     27         209. Nygard and his co-conspirators and enterprise associates cultivated a
     28 decades-long and industry-wide reputation, known to Plaintiffs, for silencing those
                                                      25
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      1 who would speak out against them. The DOJ Indictment details the psychological
      2 coercion and manipulation that the Nygard enterprise uses to silence its victims:
      3 “Nygard maintained control over his victims through threats, promises to grant or
      4 withhold modeling opportunities and other career advancement, granting and
      5 withholding of financial support, and by other coercive means, including constant
      6 surveillance, restrictions of movement, and physical isolation.” Id., ¶ 12.
      7        210. Indeed, it was widely reported, and known to Plaintiffs, that many
      8 victims had sought help through law enforcement and through the Nygard
      9 Companies, but were rebuffed, intimidated, silenced, and destroyed. The DOJ
     10 Indictment states that Nygard and other members of the Nygard enterprise “engaged
     11 in obstructive conduct aimed at preventing witnesses from reporting Nygard’s sexual
     12 crimes.” Id., ¶ 3. Fitzgerald is actively doing the same right now.
     13        211. Such intimidation includes not only direct threats, but also the publicly
     14 known, decades-long reputation for silencing those who would speak out against
     15 Nygard and his co-conspirators and enterprise associates, such as Defendant – a
     16 reputation known to Plaintiffs and indeed known throughout the fashion industry
     17 and the entire social scene in which Nygard, Defendant, and their victims traveled.
     18 In the Canadian Arrest Warrant related to the DOJ Indictment and Extradition of
     19 Peter Nygard, evidence is put forth that Nygard and the Nygard enterprise used
     20 “corporate employees and funds to quash negative publicity related to allegations of
     21 sexual assault and sex trafficking and to engage in illegal witness tampering.” See
     22 annexed Ex. 2, at ¶ 7(s)(vi). Fitzgerald’s defamatory videos and social media posts
     23 are all intimidating witness tampering techniques with malicious intent.
     24        212. In a January 5, 2021 letter, acting United States Attorney for the
     25 Southern District of New York, Audrey Strauss, stated: “Moreover, during the past
     26 several decades, Nygard has repeatedly engaged in efforts to obstruct justice and
     27 tamper with potential witnesses against him. These efforts have included paying
     28 witnesses to provide information that Nygard knew to be false, monitoring contact
                                                      26
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      1 between victims and U.S. law enforcement, and providing false information to
      2 witnesses, including those Nygard knew had been contacted by U.S. law
      3 enforcement.” See annexed Ex. 3, at p. 2. Similarly, Fitzgerald stalked an alleged
      4 Jane Doe to try to determine if she had spoken to the FBI and trying to silence her.
      5        213. Nygard and his co-conspirators and enterprise associates, including
      6 Defendant, engage in myriad coercive methods of intimidation, bribery, and witness
      7 tampering, including as recently as 2019 and 2020, in order to suppress the truth
      8 about Nygard’s sex trafficking conspiracy, including as it relates to Plaintiffs:
      9        Obstruction of justice/witness tampering –
     10
                   (aa) During the past several decades, NYGARD has also repeatedly
     11            engaged in efforts to obstruct justice and tamper with potential
     12            witnesses against him. These efforts have included paying
                   witnesses to provide false information, monitoring contact between
     13            victims and U.S. law enforcement, and providing false information
     14            to witnesses, including those NYGARD knew had been contacted
                   by U.S. law enforcement; Examples include:
     15
     16               (i) In or about 2016, after learning about a federal criminal
                      investigation, NYGARD directed Victim-6 to provide testimony
     17               establishing that Minor Victim-1 was an adult under U.S. law,
     18               when she travelled with NYGARD. Victim-6, who believed at
                      the time that Minor Victim-1 was 18 or older, agreed, and offered
     19               sworn statements at what she understood to be a civil deposition.
     20               After NYGARD subsequently rewarded her with a $2,000 cash
                      bonus, she later learned that Minor Victim-1 was under age 18;
     21
     22               (ii) Messages recovered from NYGARD’s phone demonstrate
                      that in or about December of 2019, a witness who had been
     23
                      lawfully served by the FBI with a subpoena (“Female-2”) sent
     24               NYGARD a photograph of the FBI agent’s business card. About
                      20 days later, NYGARD sent Female-2 another message falsely
     25
                      telling her that the agent was a “fake.”;
     26
                                                  ***
     27
     28
                                                      27
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      1               (iii) Another longtime “girlfriend” (“Female-3”) advised
                      Victim-3 that in the summer of 2020, after the U.S.
      2               investigation had been revealed, NYGARD contacted Female-
      3               3 from another person’s phone to convey, in substance, that if
                      she were not on his “side” then she was “going down.”
      4
      5 Ex. 2 at ¶¶ 18-19 (emphasis added).
      6         214. Due to the violent nature of rape and the brutal methods of abuse and
      7 psychological coercion and manipulation employed by Nygard, Fitzgerald, and other
      8 associates of the Nygard enterprise against Plaintiffs, along with the coordinated
      9 methods of control, coercion, fraud, and intimidation, Plaintiffs legitimately
     10 feared—and continue to fear—for their lives.
     11         215. As noted above, Defendant, Nygard, and the Nygard enterprise also use
     12 violence, threats of violence, bribery, and corruption to intimidate and silence their
     13 victims and those that they believe have “betrayed” them. Defendant, Nygard, and
     14 the Nygard enterprise have silenced their victims by, among other means, having
     15 their tires slashed, committing arson, hiring thugs to intimidate their victims, having
     16 their victims followed, engaging in murder-for-hire plots, threatening them via social
     17 media and other mediums, and otherwise threatening their victims with death.
     18         216. Moreover, Nygard’s and the Nygard enterprise’s intimidation in the
     19 form of coordinated displays of power and international influence, both monetary
     20 and political, have continuously led Nygard’s and the Nygard enterprise’s many
     21 victims, which include Plaintiffs here in coordinated assaults by Nygard and
     22 Defendant, to believe that they would have no safe or effective avenue for relief for
     23 pursuing their claims.
     24         217. Nygard’s confirmed and alleged payoffs to law enforcement in the
     25 Bahamas and Canada, repeated statements to victims such as, “I own the police,”
     26 and his hiring of Bahamian police officers as security guards for his pamper parties
     27 and other events at Nygard Cay at which women and girls were drugged and raped,
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      1 all served to send a clear and consistent message to victims that they would not be
      2 safe to report their victimization to law enforcement.
      3          218. Plaintiffs knew they could be found and harmed at any time by Nygard,
      4 Defendant, or their other associates in the Nygard enterprise, as it was routine
      5 practice for Nygard to keep victims’ passports and other identification, or copies
      6 thereof, in his private possession, typically in a locked cabinet.
      7          219. Plaintiffs feared—and continue to fear—for their livelihood and safety.
      8          220. The crimes here were committed by both Nygard and Fitzgerald, who
      9 conspired with each other to traffic Plaintiffs, thus invoking the fear based on the
     10 Nygard enterprise’s sprawling intimidation machine.
     11          221.    This control, manipulation, and intimidation rendered Nygard’s and
     12 the Nygard enterprise’s victims, which include Plaintiffs here, effectively
     13 incapacitated from being able to understand and assert their rights. Plaintiffs thus
     14 have been effectively prevented until now from exercising their rights to confront
     15 Defendant, Nygard, and the Nygard Companies – prevented until they were assured
     16 that authorities were investigating the Nygard enterprise’s crimes in earnest, that
     17 their identities would be protected, and, ultimately, that Nygard and his enterprise
     18 would not be free to wield their considerable influence to harm them for pursuing
     19 justice against him and his co-conspirators.
     20          222. The violent nature of rape and the brutal methods of abuse,8 along with
     21 the coordinated methods of coercion and intimidation by Nygard and co-
     22 conspirators, caused Plaintiffs significant mental and emotional harm such that they
     23
     24
     25
     26   “Rape is one of the most severe of all traumas, causing multiple, long-term negative outcomes,
          8

        such as post-traumatic stress disorder (PTSD), depression, substance abuse, suicidality, repeated
     27 sexual victimization, and chronic physical health problems.” Kilpatrick, D. G., & Acierno, R.:
     28 “Mental health needs of crime victims: Epidemiology and outcomes.” Journal of Traumatic Stress,
        Vol. 16, 2003, pp119–132.
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      1 felt they could not re-traumatize910 themselves or further endanger themselves by
      2 going up against powerful men, backed by global corporations and corruption.
      3 “[T]he trauma experienced by victims of trafficking includes anxiety, depression,
      4 alienation, disorientation, aggression, suicide ideation, attention deficit, and post-
      5 traumatic stress disorder (PTSD).”11 Further, that “trauma worsens during the
      6 trafficking process and persists far beyond the end of any exploitation.”12
      7              223. Studies show that rape is one of the least reported of all violent crimes
      8 in the United States and that victims do not report because of fear of retaliation from
      9 their perpetrator.
     10              224.     Studies also show that negative social consequences to disclosing
     11 rape to family members and friends form significant inhibitions, further
     12 incapacitating victims to speak about their experiences even to people they love and
     13 trust. These include notions of becoming an emotional burden, experiencing a loss
     14 of privacy, being shamed and blamed, being disbelieved, being labelled (and as such,
     15 being unable to move out from under a negative label, such as “victim,” “whore,”
     16 “dirty,” “tainted,” “weak”), and being the cause of mental and emotional strife for
     17 the person/people they disclose to.
     18              225. It is also common for rape survivors to fear violent retaliation against
     19 their attacker by family members and friends, particularly male. Thus, they will
     20 avoid disclosing their victimhood in order to ensure that their brothers, fathers,
     21   9
              “When victims reach out for help, they place a great deal of trust in the legal, medical, and mental
     22 health systems as they risk disbelief, blame, and refusals of help. How these system interactions
          unfold can have profound implications for victims’ recovery.”              Campbell, Rebecca, “The
     23 Psychological Impact of Rape Victims’ Experiences With the Legal, Medical, and Mental Health
     24 Systems,”
        10
                   American Psychologist, November 2008, p. 702.
           “Post-assault help seeking can become a “second rape,” a secondary victimization to the initial
     25 trauma.” Campbell, R., & Raja, S., “The secondary victimization of rape victims: Insights from
          mental health professionals who treat survivors of violence.” Violence & Victims, 14, 2008, 261–
     26 275.
          11
               Okech, David, et. al., “Social Support, Dysfunctional Coping, and Community Reintegration as
     27 Predictors of PTSD Among Human Trafficking Survivors.” Behavioral Medicine, Vol. 44, 2018,
     28 209-218).
        12
               Id.
                                                           30
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      1 husbands and other male friends and relatives do not cause physical harm to their
      2 rapists which would in turn put those friends and relatives at risk of being charged
      3 and convicted of criminal offences themselves. This is best illustrated in victims’
      4 responses to interview questions by lawyers, law enforcement and therapists such
      5 as, “Why didn’t you tell anyone?”                 Victim response: “I knew my
      6 dad/brother/boyfriend would find him and kill him, so I kept it to myself. I didn’t
      7 want [relative] to go to jail.”
      8         226. The DOJ Indictment corroborates that the Nygard enterprise employed
      9 various resources “to intimidate, threaten, and corruptly persuade individuals who
     10 alleged that Nygard was engaged in sexual assault and sex trafficking in the United
     11 States, Bahamas, Canada and elsewhere, including by paying witnesses for false
     12 statements and affidavits; threatening witnesses with arrest, jail, prosecution, civil
     13 litigation, and reputational harm; and attempting to cause reputational harm and
     14 discredit potential witnesses by disseminating false or embarrassing information.”
     15 Ex. 1 at ¶ 10(h).
     16         227. In this case, Defendant has already indicated his intention to “out”
     17 Plaintiff Jane Doe Nos. 1-10 and discredit them by claiming they have brought this
     18 case not for the truth, but rather, because they are simply “looking for a payday.”
     19 Fitzgerald has, in fact, already made good on this by posting, or causing to be posted,
     20 to YouTube a false and defamatory video concerning Jane Doe Nos. 4-6 and by
     21 creating and distributing defamatory flyers concerning Jane Doe No. 5 throughout
     22 her community.
     23         228. Because of the actions by Nygard and other associates of the Nygard
     24 enterprise, including Defendant, victims reasonably fear for their lives, particularly
     25 given the violent nature of the crimes, the reasonable belief that attempting to report
     26 such crimes is hopeless, and the careful coordination by the Nygard enterprise of the
     27 methods of violence and intimidation, including false imprisonment, drugging, and
     28 threats.
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      1        229. Likewise, in accordance with the practices of the Nygard enterprise,
      2 Fitzgerald himself has used violence against his victims to force their silence and
      3 acquiescence.
      4        230. Cases associated with the Nygard Sex Trafficking Racketeering
      5 Enterprise involving Nygard and Defendant Fitzgerald present a unique set of
      6 circumstances that require a unique perspective. The confluence of myriad factors,
      7 listed below, led each of the Jane Does to a legitimate fear for her and her family’s
      8 livelihood, safety, and well-being, thus incapacitating Plaintiffs from practically and
      9 effectively understanding and asserting their rights. The factors eliciting fears of
     10 death, bodily and psychological harm, and other grievous injury in this case are:
     11            a. The Nygard enterprise’s wealth and connection to prominent politicians
     12               and law enforcement agents in multiple nations;
     13            b. Nygard’s and Fitzgerald’s brutal and coordinated violent rapes;
     14            c. Nygard instructing and coercing women to have sex with his close
     15               friend and co-conspirator, Fitzgerald;
     16            d. Fitzgerald’s wealth and use of violence to suppress his victims;
     17            e. Fitzgerald’s indifference to the rules of law by his rape and trafficking
     18               of women;
     19            f. Nygard’s and Fitzgerald’s utter indifference to the rules of law by their
     20               brazen violent acts;
     21            g. Nygard’s abilities to manipulate and control people, honed by his own
     22               malignant narcissism, as well as his relentless study of dictators such as
     23               Hitler and cult leaders such as Jim Jones;
     24            h. Nygard’s, Fitzgerald’s, and the Nygard enterprise’s sprawling
     25               infrastructure of employees and “girlfriends” that, to please Nygard
     26               and/or avoid reprisal by him, enticed, lured, recruited, transported,
     27               harbored, maintained, and intimidated witnesses;
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      1            i. The Nygard enterprise’s active intimidation tactics, including constant
      2               surveillance and other harassment measures; and
      3            j. The Nygard enterprise’s known connections to organized crime and
      4               other underground figures, such as drug dealers, murderers, and gang
      5               members (demonstrated poignantly by Hell’s Angel associate and
      6               convicted drug trafficker, Steve Mager, being one of two people
      7               recently attempting to post surety to allow for Nygard’s release from
      8               jail).
      9         231. Further, Nygard and his conspirators and enterprise associates actively
     10 coordinated to brainwash, shame, intimidate, and terrify victims, including
     11 Plaintiffs, into a cult-like, paralyzing fear that prevented them from being able to
     12 understand and/or assert their rights prior to filing this suit. Nygard and his
     13 conspirators honed patterns of praise-berate-reward-punish behaviors that pulled
     14 victims into a control cycle of adjusting their responses to such behaviors in order to
     15 elicit the positive and avoid the negative, to the point that some became unable at
     16 various points to know right from wrong, or to distinguish between helpers and
     17 harmers. This allowed victims, including Plaintiffs, to be held as indentured laborers
     18 by what are known in trafficking lingo as “the invisible chains,” and to remain
     19 devoid of the knowledge or understanding that what was happening to them was
     20 indeed criminal.
     21         232. Nygard’s control of people, particularly his “girlfriends” such as
     22 Plaintiffs, was complete and ruthless. He would withhold passports, payment, travel,
     23 and lodging, unless his every demand was met. He monitored and restricted food
     24 intake and employed sleep deprivation tactics as further methods of psychological
     25 control. He disallowed privacy, constantly surveilling and recording his
     26 “girlfriends’” and employees’ every activity. Any protest or attempt to fight back
     27 was met with swift and cruel retribution, including physical and sexual assaults.
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      1         233. Further, even after his victims leave his direct control, Nygard often
      2 continues to attempt to contact them, in an intimidating manner, intending to instill
      3 fear in his victims and remind them of his power and ability to hurt them.
      4         234. In some cases, such as with Jane Doe No. 4, instead of letting this victim
      5 leave his control, Nygard instead “passed” her to Fitzgerald for further manipulation,
      6 control, sex trafficking, and abuse. Consequently, instead of being free of her
      7 trafficker, Jane Doe No. 4 was trafficked and further abused within the criminal
      8 enterprise by Fitzgerald.
      9         235. Further, the convoluted structure of the enterprise and scheme alone,
     10 including the murky corporate waters of the Nygard Companies, as well as the
     11 labyrinth of covert recruiters, obfuscated the true nature of the racketeering
     12 enterprise, thus concealing the true landscape from victims, including Plaintiffs.
     13         236. To wit, some victims have reported continuing to believe that their
     14 recruiters were their friends for years following their trafficking and sexual assault.
     15 Those who got caught for any length of time in Nygard’s scheme often came to
     16 believe that he cared about them, since he frequently pointed out how lucky they
     17 were to have the opportunities for career growth, travel, and industry connections
     18 that he claimed to be providing. Typically, it is only through psycho-education about
     19 trafficking given by experts (therapists, lawyers, victim advocates, law
     20 enforcement), or through learning about the trafficking experiences of others in
     21 books, film, and media that trafficking victims enlighten to the fact that their
     22 “friend,” “boyfriend,” “agent,” or “employer,” was actually a pimp, recruiter, or
     23 trafficker.
     24         237. Due to the temporal, geographical, and numerical breadth of Nygard’s
     25 and Defendant’s schemes, and due to the success of Nygard’s and Defendant’s
     26 efforts to suppress knowledge and conceal information about their schemes, and due
     27 to Plaintiffs’ justifiable lack of knowledge of such facts until now, it would have
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      1 been impossible for Plaintiffs to know or understand many of the claims they have
      2 against Defendant, Nygard, or the Nygard Companies.
      3          238. Plaintiffs largely were not aware of the wide-ranging scheme of abuse
      4 outside of their own victimization, and thus could not have known of a broader RICO
      5 enterprise or trafficking scheme – in part due to ignorance of the legal protections
      6 available to them and in part due to Defendants’ concerted efforts to obfuscate their
      7 crimes.
      8          239. Compounding the belief that they were alone in their victimization are
      9 the negative cognitions of self (i.e., “I am powerless,” “I am worthless,” “It’s my
     10 fault,” “I’m stupid,” “I’m dirty”) that form in response to trauma, particularly sexual
     11 trauma. These beliefs combine with anticipated social reactions and consequences
     12 (such as people impugning their motives if they do come forward) to play a
     13 significant psychological role in immobilizing the victim from coming forward.13
     14          240. Nygard and his conspirators and enterprise associates stepped up their
     15 intimidation tactics in the last two years. In the summer of 2019, Nygard became
     16 aware that the New York Times was actively investigating his sex trafficking venture
     17 and racketeering enterprise.
     18          241. Nygard also became aware that the FBI and DOJ were investigating his
     19 sex trafficking venture and racketeering enterprise when they raided his New York
     20 and California properties on February 26, 2020.
     21          242. In response, Nygard took several offensive measures to try to keep his
     22 sex trafficking venture and racketeering enterprise concealed, including threatening
     23 the New York Times, suing the New York Times, concocting false conspiracy
     24 theories, and enlisting his most trusted “girlfriends” and associates to cover-up his
     25 and their crimes.        Upon information and belief, these individuals were paid
     26
     27
                 13
                   Ahrens, Courtney, “Being Silenced: The Impact of Negative Social Reactions on the
     28
          Disclosure of Rape,” American Journal of Community Psychology, Vol. 38, 2006, pp. 263-274.
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      1 thousands of dollars in cash and benefits during 2019 and 2020 to keep quiet and lie
      2 for Nygard.
      3         243. The intimidation tactics of Nygard are acutely relevant in this case
      4 because Jane Does here are the victims of a conspiracy between Nygard and
      5 Fitzgerald to sex traffic, rape, sexually assault, and/or sexually batter them. Both
      6 Nygard and Fitzgerald are complicit and liable for the acts herein alleged.
      7         244. Further, prior to Nygard’s indictment by the U.S. federal government
      8 and arrest, Defendant communicated with Nygard on options to flee the jurisdiction
      9 and get to a country without extradition treaties to the U.S.
     10         245. Due to Defendant’s conspiracy and enterprise with Nygard, and his
     11 close association with him as a recruiter and fellow sex trafficker, Plaintiffs
     12 legitimately feared for their lives as well as other forms of retaliation if they pursued
     13 claims against Defendant for trafficking them.
     14                                  CLAIMS ALLEGED
     15                                        COUNT I
     16     VIOLATION OF THE TRAFFICKING VICTIMS PROTECTION ACT,
     17                                     18 U.S.C. § 1595
     18         246. Plaintiffs reallege and incorporate by reference the allegations
     19 contained in paragraphs 1-245, as if fully set forth in this Count.
     20         247. Plaintiffs are victims of violations of Chapter 77 of Title 18 of the
     21 United States Code, to wit, 18 U.S.C. § 1591(a), insofar as:
     22                a)    Fitzgerald, Nygard, the Nygard Companies, and others acting in
     23 concert with them knowingly recruited, enticed, harbored, transported, provided,
     24 obtained, maintained, patronized, and/or solicited Plaintiffs by multiple means to
     25 commit one or more commercial sex acts [as defined at 18 U.S.C. § 1591(e)(3)];
     26                b)    Fitzgerald, Nygard, the Nygard Companies, and others acting in
     27 concert with them knowingly benefitted, financially or by receiving anything of
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      1 value, from participation in a venture [as defined at 18 U.S.C. § 1591(e)(4)] which
      2 has engaged in an act described in (a) in which Plaintiffs were the victims;
      3               c)     the acts described in (a) and (b) involving Plaintiffs occurred in
      4 or affected interstate or foreign commerce, or within the special maritime and
      5 territorial jurisdiction of the United States; and
      6               d)     Fitzgerald, Nygard, the Nygard Companies, and others acting in
      7 concert with them committed the acts described in (a) and (b) knowing, or in reckless
      8 disregard of the fact, that means of force, threats of force, fraud, coercion [as defined
      9 at 18 U.S.C. § 1591(e)(2)], or any combination of such means would be used to
     10 cause Plaintiffs to engage in one or more commercial sex acts.
     11         248. Plaintiffs are victims of violations of Chapter 77 of Title 18 of the
     12 United States Code, to wit, 18 U.S.C. § 1591(d), insofar as Fitzgerald, Nygard, the
     13 Nygard Companies, and others acting in concert with them obstructed, attempted to
     14 obstruct, and/or interfered with or prevented the enforcement against them of 18
     15 U.S.C. § 1591 in connection with their actions of which Plaintiffs were victims.
     16         249. Plaintiffs were forced to engage in commercial sex acts as defined at 18
     17 U.S.C. § 1591(e)(3).
     18         250. Within the meaning of 18 U.S.C. § 1595, Defendant Fitzgerald is a
     19 perpetrator of the violations of 18 U.S.C. § 1591 set forth above in which Plaintiffs
     20 were victims:
     21               a)     Fitzgerald, acting alone and in concert with others, knowingly
     22 recruited, enticed, harbored, transported, provided, obtained, maintained,
     23 patronized, and/or solicited Plaintiffs by multiple means to commit one or more
     24 commercial sex acts [as defined at 18 U.S.C. § 1591(e)(3)];
     25               b)     Fitzgerald, acting alone and in concert with others, knowingly
     26 benefitted, financially or by receiving anything of value, from participation in a
     27 venture [as defined at 18 U.S.C. § 1591(e)(4)] which has engaged in an act described
     28 in (a) in which Plaintiffs were the victims;
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      1               c)        Fitzgerald, acting alone and in concert with others, committed
      2 the acts described in (a) and (b) knowing, or in reckless disregard of the fact, that
      3 means of force, threats of force, fraud, coercion [as defined at 18 U.S.C.
      4 § 1591(e)(2)], or any combination of such means would be used to cause Plaintiffs
      5 to engage in one or more commercial sex acts; and
      6               d)        Fitzgerald, acting alone and in concert with others, obstructed,
      7 attempted to obstruct, and interfered with or prevented the enforcement against them
      8 of 18 U.S.C. § 1591 in connection with their actions of which Plaintiffs were the
      9 victims.
     10         251. Defendant’s violation of 18 U.S.C. § 1591, giving rise to a cause of
     11 action under 18 U.S.C. § 1595, has continued without interruption since Defendant
     12 first met Plaintiffs.
     13         252. Defendant’s conduct has caused and continues to cause Plaintiffs
     14 serious and permanent harm, including, without limitation, physical, nonphysical,
     15 psychological, financial, and reputational harm.
     16         253. Under the TVPRA, 18 U.S.C. § 1595, Plaintiffs are entitled to recover
     17 from Defendant damages and reasonable attorney’s fees.
     18                                         COUNT II
     19          PARTICIPATING IN A VENTURE IN VIOLATION OF
            THE TRAFFICKING VICTIMS PROTECTION ACT, 18 U.S.C. § 1595
     20
     21         254. Plaintiffs reallege and incorporate by reference the allegations
     22 contained in paragraphs 1-245, as if fully set forth in this Count.
     23         255. Defendant participated in a venture with Nygard and the Nygard
     24 Companies, in violation of 18 U.S.C. § 1591(a)(2).
     25         256. Defendant knowingly benefited from, and received value for, his
     26 participation in the venture, in which Defendant and Nygard would lure, entire,
     27 recruit, solicit, provide, obtain, and transport Plaintiffs, to engage in commercial sex
     28 acts with Defendant.
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      1         257. Defendant knew, or was in reckless disregard of the fact, that it was
      2 Nygard’s pattern and practice to use the channels and instrumentalities of interstate
      3 and foreign commerce, as well as the Nygard Companies’ resources, to entice,
      4 recruit, solicit, or cause young and underage individuals to engage in commercial
      5 sex acts, and offering something of value in exchange for the sexual act.
      6         258. Defendant had actual knowledge that he was facilitating and
      7 participating in Nygard’s use of company resources to recruit, entice, harbor,
      8 transport, provide, obtain, maintain, patronize, and/or solicit Plaintiffs and others,
      9 through force, fraud, or coercion, into commercial sex acts.
     10         259. Despite such knowledge, Defendant facilitated and participated in
     11 Nygard’s violations of 18 U.S.C. § 1591, where Defendant knew, or was in reckless
     12 disregard of the facts that, Nygard would lure, entice, harbor, transport, provide,
     13 obtain, maintain, patronize, and/or solicit Plaintiffs, through force, fraud, or
     14 coercion, to engage in commercial sex acts.
     15         260. Defendant and/or Defendant’s co-conspirators also provided or
     16 promised Plaintiffs items of value in exchange for engaging in the sexual acts with
     17 Defendant, including flights, lodging, and cash.
     18         261. In exchange for facilitating, participating in, and covering up Nygard’s
     19 scheme, Defendant received significant financial benefits and online exposure to
     20 promote and grow his own company.
     21         262. Defendant’s conduct has caused and continues to cause Plaintiffs
     22 serious and permanent harm, including, without limitation, physical, nonphysical,
     23 psychological, financial, and reputational harm.
     24                                       COUNT III
     25            CONSPIRACY TO COMMIT VIOLATION OF THE
     26        TRAFFICKING VICTIMS PROTECTION ACT, 18 U.S.C. § 1595
     27         263. Plaintiffs reallege and incorporate by reference the allegations
     28 contained in paragraphs 1-245, as if fully set forth in this Count.
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      1         264. Defendant conspired, by agreement or understanding, to further
      2 Nygard’s unlawful plan and/or purpose to commit illegal commercial sex acts with
      3 Plaintiffs.
      4         265. Defendant committed overt acts in furtherance of the agreement or
      5 understanding by playing an active role in trafficking Plaintiffs and by engaging in
      6 commercial sex acts with them.
      7         266. Defendant and/or his co-conspirators provided or promised Plaintiffs
      8 items of value in exchange for engaging in the sexual acts with Defendant, including
      9 but not limited to, air flights, lodging, food, and cash.
     10         267. Defendant’s participation in the furtherance of Nygard’s illegal sex
     11 trafficking venture, plan, and/or purpose was intentional and/or willful and,
     12 therefore, Defendant intentionally and/or willfully caused Nygard’s facilitation of
     13 the sex acts with Plaintiffs in his affirmative acts supporting Nygard.
     14         268. Defendant knew that his acts and conduct supporting and facilitating
     15 Nygard would lead to unlawful commercial sex acts facilitated by Nygard and
     16 involving Plaintiffs.
     17         269. Defendant conspired with Nygard through his affirmative acts and
     18 provided substantial support to Nygard causing commercial sex acts upon Plaintiffs.
     19         270. Defendant’s conduct has caused and continues to cause Plaintiffs
     20 serious harm, including, without limitation, physical, psychological, financial, and
     21 reputational harm, that is sufficiently serious, under all the surrounding
     22 circumstances, to compel a reasonable person of the same background and in the
     23 same circumstances to perform or to continue performing commercial sexual activity
     24 in order to avoid incurring that harm.
     25 / / /
     26 / / /
     27 / / /
     28 / / /
                                                      40
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      1                                       COUNT IV

      2     SEXUAL BATTERY IN VIOLATION OF CALIFORNIA CIVIL CODE
                         § 1708.5 AND COMMON LAW
      3
      4         271. Plaintiffs reallege and incorporate by reference the allegations
      5 contained in paragraphs 1-245, as if fully set forth in this Count.
      6         272. Defendant intentionally committed sexual battery on all Plaintiffs in the
      7 State of California in violation of California law.
      8         273. Defendant acted with the intent to cause a harmful and offensive contact
      9 with an intimate part of each Plaintiff, and a sexually offensive contact with each
     10 Plaintiff directly or indirectly resulted.
     11         274. Defendant acted with the intent to cause a harmful and offensive contact
     12 with each Plaintiff, by use of his intimate parts, and a sexually offensive contact with
     13 each Plaintiff directly or indirectly resulted.
     14         275. Defendant also acted to cause an imminent apprehension or fear of a
     15 harmful and offensive contact with each Plaintiff’s intimate parts.
     16         276. Plaintiffs did not consent to Defendant’s harmful and offensive contact
     17 and/or were coerced in to such harmful and offensive contact.
     18         277. Plaintiffs were harmed and/or offended by Defendant’s conduct.
     19 Defendant’s conduct has caused Plaintiffs serious and permanent harm and/or
     20 damages, including, without limitation, physical, psychological, emotional,
     21 financial, and reputational harm.
     22                                        COUNT V
     23         CIVIL CONSPIRACY IN VIOLATION OF CALIFORNIA LAW
     24         278. Plaintiffs reallege and incorporate by reference the allegations
     25 contained in paragraphs 1-245, as if fully set forth in this Count.
     26         279. Defendant, Nygard, and the Nygard Companies have participated in the
     27 continuing conspiracy to commit sexual battery and to cover-up their conspiracy.
     28         280. Defendant, Nygard, and the Nygard Companies formed a group of two
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      1 or more persons who conspired and agreed to a common plan or design to commit
      2 tortious acts, including sexual battery.
      3         281. Defendant had actual knowledge that tortious acts including sexual
      4 battery were planned by him and his co-conspirators, and he concurred and
      5 participated in the tortious scheme with knowledge of its unlawful purpose.
      6         282. Defendant intended to aid his co-conspirators in the commission of the
      7 planned tortious acts, including sexual battery.
      8         283. Defendant committed numerous wrongful acts, including sexual
      9 battery, against Plaintiffs in the State of California pursuant to his agreement with
     10 his co-conspirators.
     11         284. Defendant’s affirmative conduct in furtherance of the conspiracy was
     12 undertaken with the express and/or implied agreement or understanding that Nygard
     13 would use the Nygard Companies’ money and brand, the promise of modeling
     14 careers, and his influence in the fashion industry to facilitate and/or enable the sexual
     15 battery of Plaintiffs.
     16         285. Plaintiffs were battered and damaged as a direct result of Defendant’s
     17 agreement and actions in furtherance of the conspiracy.
     18       286. Defendant’s conduct has caused and continues to cause Plaintiffs

     19 serious and permanent harm and/or damage, including, without limitation, physical,
     20 psychological, emotional, financial, and reputational harm.
     21                                       COUNT VI

     22                             LIBEL IN VIOLATION OF
                                  CALIFORNIA CIVIL CODE § 45
     23
     24         287. Plaintiffs reallege and incorporate by reference the allegations
     25 contained in paragraphs 1-245, as if fully set forth in this Count.
     26         288. Defendant intentionally published, or caused to be published, false and
     27 harmful statements about Jane Doe Nos. 4, 5, and 6, with knowledge of their falsity,
     28 on the internet for public viewing, including accusing them of criminal activity and
                                                      42
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      1 sexual misconduct, among other things.
      2         289. Additionally, Defendant intentionally and knowingly created and
      3 printed paper flyers portraying Jane Doe No. 5’s photograph and name along with
      4 false and harmful statements about her, accusing her of criminal activity, and he has
      5 distributed these around the community in which Jane Doe No. 5 currently resides.
      6         290. Defendant’s publication of such false statements has offended
      7 Plaintiffs, exposed them to contempt and ridicule, and caused them serious and
      8 irreparable harm and/or damages, including, without limitation, psychological,
      9 emotional, financial, professional, and/or reputational harm.
     10                                      COUNT VII
     11                        LIBEL PER SE IN VIOLATION OF
     12                        CALIFORNIA CIVIL CODE § 45-a
     13         291. Plaintiffs reallege and incorporate by reference the allegations
     14 contained in paragraphs 1-245, as if fully set forth in this Count.
     15         292. Defendant intentionally published, or caused to be published, false and
     16 harmful statements about Jane Doe Nos. 4, 5, and 6, with knowledge of their falsity,
     17 on the internet for public viewing, including accusing them of criminal activity and
     18 sexual misconduct, among other things.
     19         293. Additionally, Defendant intentionally and knowingly created and
     20 printed paper flyers portraying Jane Doe No. 5’s photograph and name along with
     21 false and harmful statements about her, accusing her of criminal activity, and he has
     22 distributed these around the community in which Jane Doe No. 5 currently resides.
     23         294. Defendant’s publication of such false statements has offended
     24 Plaintiffs, exposed them to contempt and/or ridicule, and, as the statements falsely
     25 accuse plaintiffs of sexual misconduct and/or criminal activity, they are defamatory
     26 on their face.
     27 / / /
     28 / / /
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      1                               REQUEST FOR RELIEF
      2        Plaintiffs respectfully request that the Court enter judgment in their favor, and
      3 against Defendant, as follows:
      4        a.     That the Court grant permanent injunctive relief to prohibit Defendant
      5 from continuing to engage in the unlawful acts and practices described herein;
      6        b.     That the Court award Plaintiffs compensatory, consequential, general,
      7 and normal damages in an amount to be determined at trial;
      8        c.     That the Court award punitive or exemplary damages in an amount to
      9 be determined at trial;
     10        d.     That the Court award to Plaintiffs the costs and disbursements of the
     11 action, along with reasonable attorneys’ fees, costs, and expenses;
     12        e.     That the Court award pre- and post-judgment interest at the maximum
     13 legal rate; and
     14        f.     That the Court grant all such other relief as it deems just and proper.
     15                                    JURY DEMAND
     16        Plaintiffs demand a trial by jury on all claims so triable.
     17
     18 Dated: October 30, 2021           By:    /s/ Deborah S. Dixon
                                                 John H. Gomez
     19
                                                 Deborah S. Dixon
     20                                          GOMEZ TRIAL ATTORNEYS
     21
                                                 Greg G. Gutzler (pro hac vice pending)
     22                                          DICELLO LEVITT GUTZLER LLC
     23
                                                 Lisa D. Haba (pro hac vice)
     24                                          THE HABA LAW FIRM, P.A.
     25
                                                 Counsel for Plaintiffs
     26
     27
     28
                                                      44
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